              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION

                        CRIMINAL NO. 1:03CR50-3


UNITED STATES OF AMERICA           )
                                   )
                                   )
             VS.                   )            ORDER
                                   )
                                   )
BRIDGET MILLER WILSON              )
                                   )


      THIS MATTER is before the Court on the Defendant’s motion for a

reduction of sentence pursuant to Rule 35(b) of the Federal Rules of Criminal

Procedure.

      Because the Court has no jurisdiction to reduce the Defendant’s

sentence except on motion from the Government,

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reduction of sentence is hereby DENIED.




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                 Signed: November 14, 2005




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